Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 1 of 17 PageID #: 114



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


                                                §
BLITZSAFE TEXAS, LLC,                           §
                                                §
                           Plaintiff,           §
                                                §      Case No. 2:17-cv-00423-JRG
            v.                                  §
                                                §      JURY TRIAL DEMANDED
MAZDA MOTOR CORPORATION and                     §
MAZDA MOTOR OF AMERICA, INC.                    §
d/b/a MAZDA NORTH AMERICAN                      §
OPERATIONS, INC.,                               §
                                                §
                                                §
                                                §
                           Defendants.          §

   PLAINTIFF’S FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff, Blitzsafe Texas, LLC (“Blitzsafe” or “Plaintiff”), files this First Amended

Complaint against Defendants Mazda Motor Corporation and Mazda Motor of America, Inc.

d/b/a. Mazda North American Operations, Inc. (collectively, “Defendants”), for patent

infringement under 35 U.S.C. § 271 and alleges as follows:

                                         THE PARTIES

       1.        Plaintiff, Blitzsafe Texas LLC, is a limited liability company organized and

existing under the laws of the State of Texas, and maintains its principal place of business at 100

W. Houston Street, Marshall, Texas 75670. Blitzsafe sells automotive interface products that

allow the end user to connect a third-party external audio device or multimedia device to a car

stereo in order to play the content on the device through the car stereo system and speakers.

Blitzsafe sells its products throughout the United States including in this judicial district.
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 2 of 17 PageID #: 115



Blitzsafe is the owner of all right, title, and interest in and to U.S. Patent No. 7,489,786 and U.S.

Patent No. 8,155,342.

       2.      Upon information and belief, Defendant Mazda Motor Corporation (“Mazda

Motor”) is a Japanese multinational automaker with a place of business at 3-1 Shinchi, Fuchu-

cho, Aki-gun, Hiroshima 730-8670, Japan.

       3.      Upon information and belief, Defendant Mazda Motor of America, Inc. d/b/a

Mazda North American Operations, Inc. (“MNAO”), is a California corporation with a place of

business at 7755 Irvine Center Drive, Irvine, CA 92618, and may be served with process through

its registered agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

MNAO imports into the United States and wholesales in the United States Mazda vehicles, parts,

and accessories.

       4.      Upon information and belief, MNAO has a Training Center located at 1825

Lakeway Drive, Lewisville, Texas 75057, a place of business at 13135 Dairy Ashford Road,

Sugar Land, Texas 77478 (the “Gulf Region Office”), and a Parts Distribution Center in

Grapevine, Texas.

       5.      Upon information and belief, MNAO engages in sales of products that infringe

the patents-in-suit to six Mazda dealerships in the Eastern District of Texas, including Classic

Mazda 1, El Dorado Mazda 2, Velocity Mazda 3, Classic Mazda Texarkana 4, Kinsel Mazda 5, and

Gorman McCracken Mazda 6. Upon information and belief, MNAO is registered to do business

in Texas with the Secretary of State. The Texas Business Organizations Code (Bus. Org. §

1
       Located in Denton, TX. See http://www.classicmazdaofdenton.com/.
2
       Located in McKinney, TX. See http://www.eldoradomazda.net/.
3
       Located in Tyler, TX. See http://www.velocitymazda.com/.
4
       Located in Texarkana, TX. See http://www.classictexarkanamazda.com/.
5
       Located in Beaumont, TX. See http://www.kinselmazda.com/.
6
       Located in Longview, TX. See http://www.gormanmccrackenmazda.com/.
                                                 2
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 3 of 17 PageID #: 116



9.001) requires all entities formed outside of the State of Texas to complete such registration in

order to “transact business” in Texas. Upon information and belief, MNAO is registered as a

taxable entity with the Texas Comptroller of Public Accounts in connection with its sales of

Mazda-branded vehicles through its relationships with Mazda dealerships.

       6.      Upon information and belief, MNAO employees work with the Mazda

dealerships in this District on issues related to sales, marketing, technical training, and the

service of parts and accessories.     Upon information and belief, MNAO reimburses these

employees for travel and personal expenses related to their job responsibilities.

       7.      Upon information and belief, the Mazda dealers located within the Eastern

District of Texas have executed dealer agreements with MNAO. Upon information and belief,

these dealer agreements set forth standards and requirements enumerated by Defendants that

dealers are required to comply with.        Upon information and belief, these standards and

requirements are directed to at least the dealership facility, space, appearance, layout, and

equipment.

       8.      Upon information and belief, MNAO regularly, continuously, and systematically

provides support to and control over the Mazda dealerships located in the Eastern District of

Texas. Upon information and belief, MNAO employees regularly and systematically work at the

Mazda dealerships in this District to educate dealership employees regarding features of the

Mazda accused products sold in this judicial district, including but not limited to features

regarding audio and multimedia integration systems. Upon information and belief, various

positions at MNAO and Mazda Motor require working at the dealerships in this District.

       9.      Upon information and belief, while Defendants’ employees are working at

dealerships in this District, they have access to communication devices (cell phones, laptops,



                                                 3
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 4 of 17 PageID #: 117



etc.) provided by Defendants on which they conduct business on behalf of Defendants. Upon

information and belief, Defendants’ employees have access to their MNAO and Mazda Motor e-

mail accounts while they are present in dealerships in this District.

       10.     Upon information and belief, Defendants warrant to the original and each

subsequent owner of new Mazda vehicles that any authorized Mazda dealer will make any

repairs or replacements necessary to correct defects in material or workmanship arising during

the warranty period. Upon information and belief, all such warranty work is paid for by the

Defendants. Upon information and belief, there are six authorized Mazda dealers in the Eastern

District of Texas, at the service departments at Classic Mazda 7, El Dorado Mazda 8, Velocity

Mazda 9, Classic Mazda Texarkana 10, Kinsel Mazda 11, and Gorman McCracken Mazda 12. Upon

information and belief, service technicians employed at these six dealerships participate in

Mazda Motor and MNAO-sponsored training programs, schools, and events.

       11.     Upon information and belief, Defendants provide Warranty Booklets (“Booklets”)

to Mazda customers, including those customers that purchase Mazda vehicles in the Eastern

District of Texas. The Booklets direct questions regarding warranty rights and responsibilities to

MNAO’s Customer Experience Center.            Upon information and belief, the Booklets direct

customers, including those customers that purchase Mazda vehicles in the Eastern District of

Texas, to provide direct, written notification of any alleged unrepaired defects or malfunctions

and service difficulties to MNAO’s Customer Experience Center, including notifications under

applicable state laws.

7
       Located in Denton, TX. See http://www.classicmazdaofdenton.com/.
8
       Located in McKinney, TX. See http://www.eldoradomazda.net/.
9
       Located in Tyler, TX. See http://www.velocitymazda.com/.
10
       Located in Texarkana, TX. See http://www.classictexarkanamazda.com/.
11
       Located in Beaumont, TX. See http://www.kinselmazda.com/.
12
       Located in Longview, TX. See http://www.gormanmccrackenmazda.com/.
                                                 4
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 5 of 17 PageID #: 118



        12.     Upon information and belief, the Mazda dealerships located within this district are

Defendants’ exclusive agents, instrumentalities, and representatives within this judicial district

for the provision within this District of all new warranty service for Mazda vehicles sold both

within the district and outside the district. Upon information and belief, if a Mazda customer

located within the district needs to have new car warranty repairs performed within the district,

Defendants require the Mazda customer to have the work performed at one of their authorized

Mazda dealers within the District.

        13.     Upon information and belief, through its exclusive agents, instrumentalities and

representatives, Defendants provide new car warranty service within the district on the infringing

products.

        14.     Upon information and belief, the technicians employed by MNAO including

those that reside in the District, provide direct supervision and assistance within the District on a

regular, ongoing, and continuous basis in connection with warranty repairs being performed

within the district.

        15.     Upon information and belief, one or more Defendants regularly engage in

marketing activities that promote the sale of Mazda-branded products to customers and/or

potential customers located in Texas and in the judicial Eastern District of Texas.            Upon

information and belief, Defendants maintain interactive commercial websites, accessible to

residents of Texas and the Eastern District of Texas, through which Defendants promote their

products that infringe the patents-in-suit. Upon information and belief, these interactive

commercial websites direct customers as to where to buy Mazda-branded vehicles with accused

products, including the Mazda dealerships within the Eastern District of Texas. Defendants’

interactive commercial websites also have submission forms that allow customers to request



                                                 5
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 6 of 17 PageID #: 119



offers and quotes from the dealers in this judicial district, estimate trade-in value with dealers in

this judicial district, and view inventory at the dealers in this judicial district. Defendants’

interactive websites also provide service and care information, and materials about Defendants’

products, including the accused products, such as downloadable manuals and guides. Upon

information and belief, Defendants attempt to sell their branded vehicles within the District,

which include the infringing products, by causing advertisements for their vehicles to appear on

television and radio programs broadcast into the District and in local newspapers distributed

within the District.

       16.     Upon information and belief, Mazda Motor owns Mazda trademarks in the United

States, including but not limited to Mazda, Mazda RX-Vision, Mazda CX-3, Mazda CX-9,

Mazda CX-5, Mazda RX-7, Mazda 6, Mazda 5, and Mazda 3.


                                 JURISDICTION AND VENUE

       17.     This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. §§ 1, et seq. This Court has jurisdiction over this action pursuant to

28 U.S.C. §§ 1331 and 1338(a).

       18.     This Court has personal jurisdiction over Defendants.             Defendants conduct

business and have committed acts of patent infringement and/or have induced acts of patent

infringement by others in this judicial district and/or have contributed to patent infringement by

others in this judicial district, the State of Texas, and elsewhere in the United States.

       19.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(b) because,

among other things, Defendants are subject to personal jurisdiction in this judicial district,

Defendants have a regular and established place of business in Texas and in this judicial district,

have purposely transacted business involving the accused products in this judicial district,


                                                  6
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 7 of 17 PageID #: 120



including sales to one or more customers in Texas, and certain of the acts complained of herein

occurred in this judicial district.

        20.     Defendants are subject to this Court’s jurisdiction pursuant to due process and/or

the Texas Long Arm Statute due at least to its substantial business in this State and judicial

district, including (a) at least part of its past infringing activities, (b) regularly doing or soliciting

business in Texas, and/or (c) engaging in persistent conduct and/or deriving substantial revenue

from goods and services provided to customers in Texas.

                                         PATENTS-IN-SUIT

        21.     On February 10, 2009, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 7,489,786 (the “’786 Patent”) entitled “Audio Device Integration

System.”

        22.     On April 10, 2012, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 8,155,342 (the “’342 Patent”) entitled “Multimedia Device

Integration System.”

                                      FACTUAL ALLEGATIONS

        23.     The patents-in-suit generally cover systems for integrating third-party audio

devices and multimedia devices with a car stereo.

        24.     Plaintiff has complied with the requirements of 35 U.S.C. § 287(a).

        25.     Defendants manufacture, import and/or sell audio and multimedia integration

systems, which have been installed in Mazda-branded vehicles made in or imported into the

United States since at least approximately 2011, including the “Mazda Connect” System, as well

as accessories to be installed at or after the time of delivery of the vehicle (hereinafter

collectively referred to as “Infotainment Systems”). These Infotainment Systems include head



                                                    7
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 8 of 17 PageID #: 121



units, extension modules, and iPod/iPhone and mp3 integration kits that Mazda purchases from

third-party suppliers. The Mazda Infotainment Systems are sold in at least the following Mazda

vehicles during the period 2011 to the present: Mazda 2, Mazda 3, Speed 3, Mazda 6, MX-5

Miata, RX-8, Mazda 5, CX-3, CX-5, CX-7 and CX-9.

       26.     The Mazda Infotainment Systems support the integration of third-party external

audio and multimedia devices, such as MP3 players, with the car stereo. The Infotainment

Systems permit an end user to connect a third-party external audio or multimedia device to the

car stereo by wire, such as through a USB port or auxiliary port, or wirelessly, such as through

Bluetooth. Once connected, the end user may control the third party external audio device and

multimedia device using the car stereo’s controls, and the audio from the external audio device

may be played through the car stereo and speakers while text, pictures, visual images and video

may be displayed on the display screen of the car stereo.

       27.     Mazda’s user manuals, instructional videos, websites and other information

demonstrate to the BMW users, customers and prospective customers how an external audio

device and multimedia device may be connected to the car stereo by wire to, for example, a USB

port or wirelessly by Bluetooth and how the external device may be controlled by the car stereo’s

controls.    For example, the Owner’s Manual for the 2013 Mazda 6, downloaded from

https://www.mazdausa.com/owners/how-to-use-my-mazda, provides:




                                                8
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 9 of 17 PageID #: 122




                                     9
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 10 of 17 PageID #: 123




                                            COUNT I
                                 (Infringement of the ’786 Patent)

        28.      Paragraphs 1 through 27 are incorporated by reference herein as if fully set forth

in their entireties.

        29.      Blitzsafe has not licensed or otherwise authorized Defendants to make, use, offer

for sale, sell, or import any products that embody the inventions of the ’786 Patent.

        30.      Defendants have and continue to directly infringe one or more claims of the ’786

Patent, including claim 57, either literally or under the doctrine of equivalents, by making, using,

offering to sell, selling and/or importing into the United States infringing Infotainment Systems

without authority and in violation of 35 U.S.C. § 271.

        31.      Defendants have and continue to indirectly infringe one or more claims of the

’786 Patent by knowingly and intentionally inducing others to directly infringe, either literally or

under the doctrine of equivalents, by making, using, offering to sell, selling and/or importing into

                                                 10
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 11 of 17 PageID #: 124



the United States the infringing Infotainment Systems.             For example, Defendants, with

knowledge that the Infotainment Systems infringe the ’786 Patent at least as of the date of this

Complaint, knowingly and intentionally induced, and continue to knowingly and intentionally

induce, direct infringement of the ’786 Patent by providing Infotainment System user manuals,

product manuals, instructional videos and website information that instruct end users how to use

the Infotainment Systems, including specifically how to connect their external third-party audio

and multimedia devices to the car stereo and how to control the external device using the

automobile’s controls. Defendants induced infringement by others, including end users, with the

intent to cause infringing acts by others or, in the alternative, with the belief that there was a high

probability that others, including end users, infringe the ’786 Patent, but while remaining

willfully blind to the infringement.

       32.     Defendants have and continue to indirectly infringe one or more claims of the

’786 Patent by contributing to the direct infringement, either literally or under the doctrine of

equivalents, by others, including end users, by offering to sell, selling and/or importing into the

United States the infringing Infotainment Systems and with the knowledge, at least as of the date

of this Complaint, that the Infotainment Systems contain components that constitute a material

part of the inventions claimed in the ’786 Patent. Such components include, for example,

interfaces that permit an end user to use a car radio’s controls to control an external third party

audio device and multimedia device. Defendants know that these components are especially

made or especially adapted for use in an infringement of the ’786 Patent and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use. Alternatively, Defendants believed there was a high probability that others would

infringe the ’786 Patent, but remained willfully blind to the infringing nature of others’ actions.



                                                  11
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 12 of 17 PageID #: 125



        33.      Blitzsafe has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’786 Patent in an amount to be proved at trial.

        34.      Blitzsafe has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’786 Patent, for which there is no adequate remedy at law,

unless Defendants’ infringement is enjoined by this Court.

        35.      Defendants have committed and continue to commit acts of infringement that

Defendants actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’786 Patent. Upon information

and belief, Defendants had actual knowledge of the ’786 Patent from prior litigations accusing

products made by Infotainment System suppliers of Defendants, and prior litigations in which

their Infotainment System suppliers were involved as third parties, Defendants’ infringement of

the ’786 Patent has been and continues to be willful, entitling Blitzsafe to an award of treble

damages, reasonable attorney fees, and costs in bringing this action.



                                           COUNT II
                                 (Infringement of the ’342 Patent)

        36.      Paragraphs 1 through 27 are incorporated by reference herein as if fully set forth

in their entireties.

        37.      Blitzsafe has not licensed or otherwise authorized Defendants to make, use, offer

for sale, sell, or import any products that embody the inventions of the ’342 Patent.

        38.      Defendants have and continue to directly infringe one or more claims of the ’342

Patent, including claim 49, either literally or under the doctrine of equivalents, by making, using,

offering to sell, selling and/or importing into the United States infringing Infotainment Systems

without authority and in violation of 35 U.S.C. § 271.

                                                  12
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 13 of 17 PageID #: 126



       39.     Defendants have and continue to indirectly infringe one or more claims of the

’342 Patent by knowingly and intentionally inducing others to directly infringe, either literally or

under the doctrine of equivalents, by making, using, offering to sell, selling and/or importing into

the United States the infringing Infotainment Systems.             For example, Defendants, with

knowledge that the Infotainment Systems infringe the ’342 Patent at least as of the date of this

Complaint, knowingly and intentionally induced, and continue to knowingly and intentionally

induce, direct infringement of the ’342 Patent by providing Infotainment System operating

manuals, product manuals, instructional videos and website information and documentation that

instruct end users how to use the Infotainment Systems, including specifically how to connect

external third-party audio and multimedia devices to the car stereo and how to control the

external device using the automobile’s controls. Defendants induced infringement by others,

including end users, with the intent to cause infringing acts by others or, in the alternative, with

the belief that there was a high probability that others, including end users, infringe the ’342

Patent, but while remaining willfully blind to the infringement.

       40.     Defendants have and continue to indirectly infringe one or more claims of the

’342 Patent by contributing to the direct infringement, either literally or under the doctrine of

equivalents, by others, including end users, by offering to sell, selling and/or importing into the

United States infringing Infotainment Systems, with the knowledge, at least as of the date of this

Complaint, that the Infotainment Systems contain components that constitute a material part of

the inventions claimed in the ’342 Patent. Such components include, for example, interfaces that

permit an end user to use a car radio’s controls to control an external third-party audio device.

Defendants know that these components are especially made or especially adapted for use in an

infringement of the ’342 Patent and that these components are not a staple article or commodity



                                                13
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 14 of 17 PageID #: 127



of commerce suitable for substantial non-infringing use. Alternatively, Defendants believed

there was a high probability that others would infringe the ’342 Patent, but remained willfully

blind to the infringing nature of others’ actions.

       41.     Blitzsafe has suffered damages as a result of Defendants’ direct and indirect

infringement of the ’342 Patent in an amount to be proved at trial.

       42.     Blitzsafe has suffered, and will continue to suffer, irreparable harm as a result of

Defendants’ infringement of the ’342 Patent, for which there is no adequate remedy at law,

unless Defendants’ infringement is enjoined by this Court.

       43.     Defendants have committed and continue to commit acts of infringement that

Defendants actually knew or should have known constituted an unjustifiably high risk of

infringement of at least one valid and enforceable claim of the ’342 Patent. Upon information

and belief, Defendants had actual knowledge of the ’342 Patent from prior litigations accusing

products made by Infotainment System suppliers of Defendants, and prior litigations in which

their Infotainment System suppliers were involved as third parties, Defendants’ infringement of

the ’786 Patent has been and continues to be willful, entitling Blitzsafe to an award of treble

damages, reasonable attorney fees, and costs in bringing this action.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury for all issues so triable.

                                     PRAYER FOR RELIEF

         WHEREFORE, Blitzsafe prays for relief against Defendants as follows:

       a.      Entry of judgment declaring that Defendants have directly and/or indirectly

infringed one or more claims of each of the patents-in-suit;

       b.      An order pursuant to 35 U.S.C. § 283 permanently enjoining Defendants, their



                                                     14
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 15 of 17 PageID #: 128



officers, agents, servants, employees, attorneys, and those persons in active concert or

participation with them, from further acts of infringement of the patents-in-suit;

       c.      An order awarding damages sufficient to compensate Blitzsafe for Defendants’

infringement of the patents-in-suit, but in no event less than a reasonable royalty, together with

interest and costs;

       d.      Entry of judgment declaring that this case is exceptional and awarding Blitzsafe

its costs and reasonable attorney fees under 35 U.S.C. § 285; and

       e.      Such other and further relief as the Court deems just and proper.



Dated: September 5, 2017                              Respectfully submitted,

                                                      BROWN RUDNICK LLP

                                                        /s/ Alfred R. Fabricant
                                                      Alfred R. Fabricant
                                                      NY Bar No. 2219392
                                                      Email: afabricant@brownrudnick.com
                                                      Peter Lambrianakos
                                                      NY Bar No. 2894392
                                                      Email: plambrianakos@brownrudnick.com
                                                      Vincent J. Rubino, III
                                                      NY Bar No. 4557435
                                                      Email: vrubino@brownrudnick.com
                                                      Alessandra C. Messing
                                                      NY Bar No. 5040019
                                                      Email: amessing@brownrudnick.com
                                                      Shahar Harel
                                                      NY Bar No. 4573192
                                                      Email: sharel@brownrudnick.com
                                                      John A. Rubino
                                                      NY Bar No. 5020797
                                                      Email: jrubino@brownrudnick.com
                                                      Daniel J. Shea
                                                      NY Bar No. 5430558
                                                      Email: dshea@brownrudnick.com




                                                15
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 16 of 17 PageID #: 129



                                          BROWN RUDNICK LLP
                                          7 Times Square
                                          New York, NY 10036
                                          Telephone: 212-209-4800
                                          Facsimile: 212-209-4801

                                          Samuel F. Baxter
                                          Texas State Bar No. 01938000
                                          sbaxter@mckoolsmith.com
                                          Jennifer L. Truelove
                                          Texas State Bar No. 24012906
                                          jtruelove@mckoolsmith.com

                                          MCKOOL SMITH, P.C.
                                          104 E. Houston Street, Suite 300
                                          Marshall, Texas 75670
                                          Telephone: (903) 923-9000
                                          Facsimile: (903) 923-9099


                                          ATTORNEYS FOR PLAINTIFF
                                          BLITZSAFE TEXAS, LLC




                                     16
Case 2:17-cv-00423-JRG Document 30 Filed 09/05/17 Page 17 of 17 PageID #: 130



                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that, on September 5, 2017, all counsel of record who are

deemed to have consented to electronic service are being served with a copy of this document via the

Court's CM/ECF system per Local Rule CV-5(a)(3).

                                                     /s/ Alfred R. Fabricant
                                                         Alfred R. Fabricant




                                                17
